Case 18-70843-BHL-7A         Doc 33     Filed 10/17/18      EOD 10/17/18 10:00:29       Pg 1 of 2



                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                                EVANSVILLE DIVISION

IN RE                                        )
                                             )
STEVEN M BLACK,                              )      CASE NO. 18-70843-BHL-7
JENNIFER JOYCE BLACK,                        )
     Debtors.                                )



                                 MOTION TO SET HEARING

        Comes now R. Stephen LaPlante, Trustee, and for his Motion to Set Hearing states as

follows:

        1.     On September 5, 2018, the undersigned filed his Objection to Motion for Relief

from Stay and for Abandonment of Property (“Objection”) in regard to the Motion for Relief

from Stay and for Abandonment of Property filed by Nationstar Mortgage, LLC d/b/a Mr.

Cooper (“Creditor”) on August 20, 2018, as Doc. 12. Thereafter the Clerk of this Court set the

Objection for hearing on September 19, 2018, at 1:30 p.m.

        2.     Thereafter Creditor’s counsel prepared a proposed agreed entry to resolve the

Trustee’s Objection. The hearing scheduled for September 19 was vacated per the request of

Creditor’s counsel. The Minute Entry/Order dated September 18, 2018, states that an agreed

entry would be filed within 28 days.

        3.     On September 26, 2018, counsel for the Creditor tendered a proposed agreed

entry to the undersigned, who found the entry to be unacceptable in its current form.

        4.     Trustee has been unable to communicate with Creditor’s counsel.

        5.     The Trustee desires his Objection once again be set for hearing. Trustee will

continue to attempt to speak with Creditor’s counsel.
Case 18-70843-BHL-7A           Doc 33     Filed 10/17/18    EOD 10/17/18 10:00:29       Pg 2 of 2



        WHEREFORE, the Trustee prays hearing be scheduled on his Objection; and for such

further relief as is just and proper in the premises.

                                                /s/ R. Stephen LaPlante, Trustee
                                                R. Stephen LaPlante, Trustee
                                                101 N.W. First Street, Suite 116
                                                P.O. Box 3556
                                                Evansville, IN 47734-3556
                                                Telephone: (812) 463-6093
                                                Facsimile: (812) 463-6094
                                                E-mail:        slaplante@keatingandlaplante.com
                                                               rallen@keatingandlaplante.com



                                   CERTIFICATE OF SERVICE

        I hereby certify that on October 17, 2018, a copy of the Motion to Set Hearing was filed
electronically. Notice of this filing was sent to the following parties through the Court’s
Electronic Case Filing System. Parties may access this filing through the Court’s system.

kinkadeassociates@hotmail.com
kinkadeandassociates@hotmail.com
bankruptcy@doylelegal.com
lscott@fsolegal.com
eshelton@fsolegal.com
dlrobinson@fsolegal.com
ustpregion10.in.ecf@usdoj.gov

       I further certify that on October 17, 2018, a copy of the foregoing Motion to Set Hearing
was mailed by first class United States Mail, postage prepaid, and properly addressed to the
following:

None

                                                /s/ R. Stephen LaPlante, Trustee
                                                R. Stephen LaPlante, Trustee
                                                101 N.W. First Street, Suite 116
                                                P.O. Box 3556
                                                Evansville, IN 47734-3556
                                                Telephone: (812) 463-6093
                                                Facsimile: (812) 463-6094
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